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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
UNITED STATES OF AMERICA                                     :
                                                             :
v.                                                           :   ORDER
                                                             :
Jared Miller-White                                           :   20 CR 520 (PMH)
                           Defendants.                       :
                                                             :
-------------------------------------------------------------x

        An Initial Conference in this matter is scheduled for November 23, 2020, at 1:00

p.m. Because of the current public health emergency, the Court will conduct the conference by

telephone conference call, provided that defendants waive their right to be physically present and

consent to appear by telephone after consultation with counsel.


        Members of the press and public may call the same number below but will not be

permitted to speak during the conference.


        Accordingly, it is hereby ORDERED:

        1. Defense counsel shall advise the Court in writing as to whether their clients waive their

right to be physically present and consent to appear by telephone.

        2. At the time of the scheduled hearing, all counsel and defendants shall attend by calling

the following number and entering the access code when requested:

        Dial-In Number:            (888) 398-2342
        Access Code:               3456831



        Dated: November 2, 2020                          SO ORDERED:



                                                                  Philip M. Halpern, U.S.D.J
